Case 2:17-cv-00152-GJQ-TPG ECF No. 42 filed 03/07/18 PageID.408 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION


MICHELLE MARIE LEFEBRE,
PERSONAL REPRESENTATIVE OF THE                     Case No. 2:17-cv-00152-GJQ-TPG
ESTATE OF SHELLSEA BLAIR LEFEBRE-SCHIEL,
                                                   Hon. Gordon J. Quist
             Plaintiff,

             -vs-

REMINGTON ARMS COMPANY, LLC.

             Defendant.



Leonard A. Siudara (P20542)            Edward P. Perdue (P55888)
Leonard A. Siudara PC                  Dickinson Wright PLLC
Attorneys for Plaintiff                Attorneys for Defendant
5865 Andover Ct.                       200 Ottawa Avenue, NW, Ste. 1000
Troy, MI 48098                         Grand Rapids, MI 49503
(248) 417-7300                         (616) 458-1300
budatlaw@msn.com                       eperdue@dickinsonwright.com

                                       Dale G. Wills
                                       James B. Vogts
                                       Swanson, Martin & Bell LLP
                                       Attorneys for Defendant
                                       330 N. Wabash, Ste. 3300
                                       Chicago, IL 60611
                                       (312) 321-9100
                                       dwills@smbtrials.com
                                       jvogts@smbtrials.com



______________________________________________


        REMINGTON’S OBJECTION TO PLAINTIFF’S COMBINED 1st
    INTERROGATORIES, 3rd REQUEST FOR ADMISSIONS & 3rd NOTICE TO
                       PRODUCE DOCUMENTS
 Case 2:17-cv-00152-GJQ-TPG ECF No. 42 filed 03/07/18 PageID.409 Page 2 of 2



       Pursuant to Fed.R.Civ.P. 36(a)(3), Remington objects to the above referenced discovery as

untimely under Fed.R.Civ.P. 26(d)(1) and irrelevant to Defendant’s pending Motion to Dismiss

under Fed.R.Civ.P. 26(d)(1).

                                                   Respectfully submitted,

                                                   DICKINSON WRIGHT PLLC



                                                   By     /s/Edward P. Perdue
                                                          Edward P. Perdue
                                                   200 Ottawa Avenue, NW, Suite 1000
                                                   Grand Rapids, MI 49503
                                                   (616) 458-1300
                                                   eperdue@dickinsonwright.com


                                                   Dale G. Wills
                                                   James B. Vogts
                                                   Swanson, Martin & Bell LLP
                                                   330 N. Wabash, Suite 3300
                                                   Chicago, IL 60611
                                                   (312) 222-8517
                                                   dwills@smbtrials.com
                                                   jvogts@smbtrials.com

                                                   Attorneys for Defendant
Dated: March 7, 2018

GRAPIDS 76841-1 492393v1
